                 Case 1:21-cv-01323-SAG Document 32 Filed 06/04/21 Page 1 of 2



                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
Anne Arundel County, Maryland
                                                        *
      Plaintiff,
                                                        *
      v.                                                                Case No.
                                                                                      1:21-cv-01323-ELH
                                                        *
BP P.L.C., et al.
      Defendant.                                        *

                                   ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
                                                                       Exxon Mobil Corp. and ExxonMobil Oil Corporation
             Enter my appearance as counsel in this case for the _______________________________

             I certify that I am admitted to practice in this Court.


06/4/2021                                                       /s/ Craig A. Thompson
Date                                                        Signature
                                                             Craig A. Thompson (26201)
                                                            Printed name and bar number

                                                             750 East Pratt Street, Suite 900, Baltimore, MD 21202


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                                                            Fax number




EntryofAppearanceCivil (08/2015)
         Case 1:21-cv-01323-SAG Document 32 Filed 06/04/21 Page 2 of 2




                                   CERTIFICATE OF SERVICE

       I hereby certify that, on this 4th day of June 2021, the foregoing document was filed

through the ECF system and will be sent electronically to the registered participants identified on

the Notice of Electronic Filing.




                                             /s/ Craig A. Thompson




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